« Case 19-04033-LA7 Filed 07/05/19 Entered 07/05/19 14:16:33 Doc1 Pg. 1of 64

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:
Southern District of Cal \ prin

\ \ ‘ 6. (044 A hne you are filing under:

mm Chapter 7

OQ Chapter 11 He pa greeks

O) Chapter 12 8, BANK RUPTEw er oo.

Q} Chapter 13 ™ OF 2 fgets if this is an
“*** dmended filing

FILED
MS JUL 5 PM 2: 19

Case number (if known):

 

vw

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12/17

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debfor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debfor 2. The
same person must be Debtor 7 in all of the forms.

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form, On the top of any additional pages, write your name and case number
(if known). Answer every question.

EERE taentiry Yourself

1. Your full name

Write the name that is on your Les | le

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

 

 

government-issued picture

 

 

 

 

  
   

 

 

 

 

 

 

 

 

 

 

 

 

 

identification (for example, First name First name
your driver's license or ( as Na UO r\
passport). Middle name Middle name ea
Bring your picture yb wr \
identification to your meeting —« Last name Last name
with the trustee.
Suffix (Sr., Jr., 1, I) ~ ar, WM)
All other names you WN | pP-
have used in the last 8 First name First name
years fn
Include your married or Middle name Middle name
maiden names.
Last name Last name A
First name First a
Middle name Middle néme
Last name Last name

 

 

Only the last 4 digits of
your Social Security
number or federal
individual Taxpayer
Identification number
(ITIN)

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 1

 
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Debtor 1

TstName ~

So laShwn Brown

Middle Name

Case number (if known).

 

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

About Debtor 1:

mM have not used any business names or EINs.

 

Business name

 

Business name

EN

EIN

About Debtor 2 (Spouse Only in a Joint Case):

C | have not used any business names or EINs.

Z
ZO

Business name

   

Business name

 

5, Where you live

(44D Colley Crve DR

Number Street

Ay? |
San Deg 0 Q2is
Son Diego

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

»| A

 

 

 

If Debtor 2 lives at a different address:

 

 

 

 

L.

Number Street

City State ZIP Code
Coufity

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will s
any notices to this mailing address.

 
   
 

 

 

 

 

this district to file for
bankruptcy

 

MM over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

() | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

Numbdr Street Number wa

P.O. Box P.O. Box

City State ZIP Code City State ZIP Code
6. Why you are choosing Check one: Check one:

 

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

 
vor (US ie LaShawn Brown

Middle Name

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First Name

Case number (if known)
Last Name

aa the Court About Your Bankruptcy Case

 

 

 

 

 

 

 

 

7. The chapter of the Check one. (Fer a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing to file
under SW cnapier 7
(J Chapter 11
UC) Chapter 12
C) Chapter 13
8. How you will pay the fee (1 | will pay the entire fee when I file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.
) need to pay the fee in installments. If you choose this option, sign and attach the
pplication for Individuals to Pay The Filing Fee in Installments (Official Form 103A).
UO) | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.
9. Have you filed for Mo
bankruptcy within the
last 8 years? C) Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD /YYYY
10. Are any bankruptcy {no
cases pending or being
filed by a spouse who is Ch Yes. Debtor Relationship to you
not filing this case with District When Case number, if known
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
MM / DD / YYYY
11. Do you rent your LI No. Go to line 12.

residence?

Official Form 101

. Has your landlord obtained an eviction judgment against you?

re Go to line 12.
Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
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. Leste (Shawn Bown seem

First Name Middle Name Last Name

ee Perot About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor Yi no. Go to Part 4.
of any full- or part-time
business? J Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

a corporation, partnership, or
LLC. Number Street

 

Name of business, if any

 

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

City State ZIP Code

Check the appropriate box to describe your business:

(2 Health Care Business (as defined in 11 U.S.C. § 101(27A))
L) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
QC) Stockbroker (as defined in 11 U.S.C. § 101(53A))

(3 Commodity Broker (as defined in 11 U.S.C. § 101(6))

LJ None of the above

 

13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. |f you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if

are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

debtor? a.
oo No. | am not filing under Chapter 11.
For a definition of smalf
business debtor, see Q) No. 1am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy Code.

QO) Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

ee =" if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14, Do you own or have any yeivo
property that poses or is
alleged to pose a threat QC) Yes. Whatis the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs If immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
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coer LASK2 LaShawn Brow

Middle Name

First Name

Last Name

Ged oe Your Efforts to Receive a Briefing About Credit Counseling

Case number (if known)

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

\f you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

A

| received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

U) I received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C) | certify that 1 asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadiine is granted
only for cause and is limited to a maximum of 15
days.

LL] 1 am not required to receive a briefing about

credit counseling because of:

C} incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

J Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

QO) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

C) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

(J | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

CL) | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C) | am not required to receive a briefing about
credit counseling because of:

U) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

UL) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

O) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

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veer PS2 LaShawn Bown

Firs'Name Middle Name

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Case number (if known)
Last Name

ee ee’ These Questions for Reporting Purposes

 

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

L] No. Go to line 16b.
Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

UL No. Go to line 16c.
CJ Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

417. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

18, How many creditors do
you estimate that you
owe?

OQ) No. | am not filing under Chapter 7. Go to line 18.

Wyes | am filing under Chapter 7. Do y'
administrative expenses are paid that funds will

O) No
U Yes

1-49

O) 50-99
LJ 100-199
U 200-999

(J 1,000-5,000
QO) 5,001-10,000
2 10,001-25,000

ou estimate that after any exempt property is excluded and
be available to distribute to unsecured creditors?

[) 25,001-50,000
0,001-100,000
More than 100,000

 

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

kal sin Below

}xf s0-s50,000

LJ $50,001-$100,000
L) $100,001-$500,000
() $500,001-$1 million

C) $0-$50,000

“FA $50,001-8100,000
( $100,001-$500,000
(2 $500,001-$1 million

C2 $1,000,001-$10 million

Q $10,000,001-$50 million
0) $50,000,001-$100 million
2 $100,000,001-$500 million

C2 $1,000,001-$10 million

CI $10,000,001-$50 million
(I $50,000,001-$100 million
2 $100,000,001-$500 million

{2 $500,000,001-$1 billion

( $1,000,000,001-$10 billion
©) $10,000,000,001-$50 billion
(J More than $50 billion

2 $500,000,001-$1 billion

D2 $1,000,000,001-$10 billion
UO $10,000,000,001-$50 billion
C) More than $50 billion

 

For you

| have examined this petition, and | declare und

correct.

If | have chosen to file under Chapter 7, | am awar:
of title 11, United States Code. | understand the re’

under Chapter 7.

er penalty of perjury that the information provided is true and

e that | may proceed, if eligible, under Chapter 7, 11,12, or 13
lief available under each chapter, and | choose to proceed

{f no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out

this document, | have obtained and read the n
| request relief in accordance with the chapter

| understand making a false statement, concealing property,

i kruptcy case
18 U.SIG. §§ 152 1341] 1549,
x ‘
v

Vv ad
Signature of Debtor 1

6

  

 

Executed on

  

otice required by 11 U.S.C. § 342(b).
of title 11, United States Code, specified in this petition.

or obtaining money or property by fraud in connection
n result in fines up to $250,000, or imprisonment for up to 20 years, or both.

and 3571.

my) *

 

Signature of Debtor 2

Executed on

MM / DD /YYYY

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

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sor (OS2 LaShawn Drow cnr

First Name Middie Name

 

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility

For your attorney, if you are to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief

 

represented by one available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page. x
Date
Signature of Attorney for Debtor MM / OD /YYYY

 

Printed name

 

Firm name

 

Number Street

 

 

 

 

City State ZIP Code
Contact phone Email address
Bar number State

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7
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cor Westie |

First Name Middle Namé

a\na IU V\ VM A Case number (if known),
Last Name

 

For you if you are filing this
bankruptcy without an
attorney

if you are represented by
an attorney, you do not
need to file this page.

Official Form 101

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court, Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

if you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

Paves

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

L] No

Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
No

C] Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

 

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an

attofney may cause fne to lose my rights or property if | do not properly handle the case.
x py x
Vv * vas

Signature of Debtor Signature of Debtor 2
Date A Date
PD AYYYY MM/ DD YY
~ “ ug
Contact phone (p \Q Oe) 6A Contact phone

 

 

 

Cell phone Cell phone

 

Email address \0sli, — Wowie Your Email address

 

Voluntary Petition for individuals Filing for Bankruptcy page 8
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Debtor 1 (yg
First Name Middle Nafne

Debtor 2 N if
(Spouse, if filing) First Nanfe Middle Name ae: .
United States Bankruptcy Court for the: ¢ iJ eh 1 \ istrict of Veli YK

Case number L] Check if this is an
(if known) amended filing

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

Your assets
Value of what you own

 

1. Schedule A/B: Property (Official Form 106A/B) , Oo
1a. Copy line 55, Total real estate, from SHES ALB cccccccccssscsccsesssecsesnesessseeseneceensenseneneceneessneseseneseeneneegee een eg Utes eeet ete gegee $_
1b. Copy line 62, Total personal property, From SCHEAUIC A/B a... .escscessscscssersseseeseenssnenenenenneneneeenseeenee een R eR eNAtE Cg AERA tee $ GL-
1c. Copy line 63, Total of all property on Schedule A/B ooccccccccecccsscnsscsecsscacseeceeeneeceeneneseneeaeeeeeeeaeens ates Utne T ERAT EE GEES AEE CEPR S ae $ O

 

 

 

 

Summarize Your Liabilities

Your liabilities
Amount you owe

 

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D) o-
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............. $ f
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) LH G) U
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F .........ccccresee terre t trees $
AIA
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F .......-c cence + 5 HA

' U %
Your total liabilities $

 

Summarize Your Income and Expenses

 

 

4. Schedule I: Your Income (Official Form 1061) + 24 vA—
Copy your combined monthly income from line 12 Of SCHECUIE Io... cee ecceesseesesseenenereeeeneenentacentenestennanenenan renee re eens tenes $

5 Schedule J: Your Expenses (Official Form 106J) 5 OD a5*
Copy your monthly expenses from line 220 Of SCHEdUIO Soo. ecececsceseseeeeceeees tee eee ete Ae Ane ee EEE EEE Ee $

 

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2
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vcs? (OSI (shaw, Bri) cee

First Name " Middle Name

Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 137

CU) No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
Yes

 

7. What kind of debt do you have?

Pibrow debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
amily, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

Cd Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official |
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ —_

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Total claim

From Part 4 on Schedule E/F, copy the following:

6 000
9a. Domestic support obligations (Copy line 6a.) $

Qb. Taxes and certain other debts you owe the government. (Copy line 6b.) 1054

9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) s

9d. Student loans. (Copy line 6f.) $ 20 al

9e. Obligations arising out of a separation agreement or divorce that you did not report as $ o-
priority claims. (Copy line 6g.)

 

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ E

9g. Total. Add lines 9a through 9f. $ 5 | | LA

 

 

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

 
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Fill in this information to identify your case and this filing:

seme «= OSN8 LaShawn Brown

irst Name Middle Name Last Name

Debtor 2 N| fe

(Spouse, if filing) First Narre Middle Name Last Name

United States Bankruptcy Court for the: then \ District of (4 {i ¥ WU

Case number

 

U Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 1215

In each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. {f more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

Ea Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

—— Sphino. Go to Part 2.

() Yes. Where is the property?

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

L) Single-family home the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property. |

1.1.

 

LJ Duplex or multi-unit buildin
Street address, if available, or other description P r noing

 

 

 

QI Condominium or cooperative Current value of the Current value of the
LJ Manufactured or mobile home entire property? portion you own?
C) Land $ $
LJ investment property
. (3 Timeshare Describe the nature of your ownership
City State ZIP Code O other interest (such as fee simple, tenancy by

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one.

C] Debtor 1 only

County L) Debtor 2 only
Q) Debtor 1 and Debtor 2 only QO toon ans Is yommunny property
see instructions

 

 

Q) At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

If you own or have more than one, list here:

 

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
QO) Single-family home the amount of any secured claims on Schedule D:

 

 

 

 

 

 

 

 

1.2. __ O Duplex or multi-unit building Creditors Who Have Claims Secured by Property.
Street address, if available, or other description ; Se rari :
LY Condominium or cooperative Current value of the Current value of the
U) Manufactured or mobile home entire property? portion you own?
Q) Land $ $
(2 investment property
; Describe the nature of your ownership
City State ZIP Code U) Timeshare interest (such as fee simple, tenancy by
C) Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
CI Debtor 4 only
County J) Debtor 2 only
C) Debtor 1 and Debtor 2 only J Check if this is community property
() At least one of the debtors and another {see instructions)
Other information you wish to add about this item, such as local

 

property identification number:

 

Official Form 106A/B Schedule A/B: Property page 1
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(eslie (ashawn”

Bowl

 

 

 

 

 

Debtor 1‘ Case number (if known),
FirstName Middle Name Last Name
What is the property? Check all that apply.
13. Q Single-family home
Street address, if available, or other description Ll] Duplex or multi-unit building
©) Condominium or cooperative
: (J Manufactured or mobile home
Q) Land
U) investment property
City State zIP Code (LJ Timeshare
QI) other
Who has an interest in the property? Check one.
L) Debtor 1 only
County

| 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ..........cc:cceeccesevecneeseenenenseesenansensananesenmasseneneameeneneeeeseeeegeees >

PERE vescrive Your Vehicles

 

U3 Debtor 2 only
(J Debtor 1 and Debtor 2 only
(Co) At least one of the debtors and another

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

entire property? portion you own?

$ $

4

 

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

CJ Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

 

 

 

 

i

' Do you own, lease, or have legal or equitable interest in any ve
you own that someone else drives. If you lease a vehicle, also repo

i

_ 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Pano

UL) Yes
3.1. Make:
i Model: _
Year:

Approximate mileage:

Other information:

 

 

 

If you own or have more than one, describe here:

3.2, Make:
Model:

 

Year:
Approximate mileage:

Other information:

[

 

Official Form 106A/B

Who has an interest in the property? Check one.
C) Debtor 1 onty

( Debtor 2 only

() Debtor 1 and Debtor 2 only

{) At least one of the debtors and another

OO) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
() Debtor 1 only

Q) Debtor 2 only

LJ Debtor 1 and Debtor 2 only

() At least one of the debtors and another

(1 Check if this is community property (see
instructions)

Schedule A/B: Property

Current value of the Curren

hicles, whether they are registered or not? Include any vehicles
rtit on Schedule G: Executory Contracts and Unexpired Leases.

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the

entire property? portion you own?

page 2

it value of the

Current value of the ;
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Yow" |

    

 

 

Debtor 1‘ Case number {it known),
First Name Middle Name Last Name
3.3. Make: Who has an interest in the property? Check one. —_ Do not deduct secured claims or exemptions. Put
oO Debtor 1 ont the amount of any secured claims on Schedule D:
Model: ebtor | only Creditors Who Have Claims Secured by Property.
Year Q) Debtor 2 only . ~ “4
ar:

Approximate mileage:

Other information:

 

 

 

 

(} Debtor 1 and Debtor 2 only
(2 At least one of the debtors and another

Current value of the ‘Current value of the |
entire property? portion you own?

 

LI check if this is community property (see $ $ i

instructions) \
3.4. Make: Who has an interest in the property? Check one. —_ Do not deduct secured claims or exemptions. Put
O) Debtor 4 onl the amount of any secured claims on Schedule D:
Model: Y Creditors Who Have Claims Secured by Property.

C3 Debtor 2 only po oe

Year: Current value of the Current value of the

| 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

Approximate mileage:

Other information:

 

 

 

 

C) Debtor 1 and Debtor 2 only
J At least one of the debtors and another

) Check if this is community property (see
instructions)

entire property? portion you own?

No
L) Yes :
4.1, Make: Who has an interest in the property? Check one. —_ Do not deduct secured claims or exemptions. Put
UO Debtor 1 onl the amount of any secured claims on Schedule D:
Model: eptor | only Creditors Who Have Claims Secured by Property.
y C) Debtor 2 onty
ear: peubarme mente teiensarensiess ested

If you own or have more than one, list here:

Other information:

 

 

 

 

CL) Debtor 1 and Debtor 2 only
UO At least one of the debtors and another

() Check if this is community property (see
instructions)

Current value of the Current value of the ©
entire property? portion you own?

4.2, Make: Who has an interest in the property? Check one. —_ Do not deduct secured claims or exemptions. Put
QO] Debtor 1 ont the amount of any secured claims on Schedule D:
Model: edtor T only Creditors Who Have Claims Secured by Property.

C) Debtor 2 only sac soa ps se!

Year: Current value of the Current value of the

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Other information:

 

 

 

Official Form 106A/B

L) Debter 1 and Debtor 2 only
) At least one of the debtors and another

C) Check if this is community property (see
instructions)

Schedule A/B: Property

entire property? portion you own?

 

 

 

 

 

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Case number (if known),

Debtor 1 ' Last \ dy (ad haw % ayn y\

 

ee =" Your Personal and Household Items

| Do you own or have any legal or equitable interest in any of the following items?

;
}
i

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| 6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
No
(3 Yes. Describe......... i $
| 7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
PALNo
() Yes. Describe.......... §
; 8 Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections, other collections, memorabilia, collectibles
Yes. Describe.......... $
9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
Bl No
[
LJ Yes. Describe.......... $
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
No
Yes. Describe.......... $
' 11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
No
Yes. Describe.......... $
_ 12, Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
! Yes. Describe.......... $__
1
> 43.Non-farm animals
Examples: Dogs, cats, birds, horses
BL No
L) Yes. Describe.......... $
' 44, Any other personal and household items you did not already list, including any health aids you did not list :
! re
Yes. Give specific $
information, ..........0 TTT
- 45, Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $
for Part 3. Write that mummber here ............:ccccsescssseesseeseeseessccneceennnceeennceenensasnensctsnanennnneener este eee are ee TS

Official Form 106A/B Schedule A/B: Property

Current value of the
portion you own?

Do not deduct secured claims
or exemptions. :

 

 

 

 

 

page 4
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er (SW LaShawn Bow suse mera

First Name Middle Name Last Name

eS o-<"" Your Financial Assets

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t

' Do you own or have any legal or equitable interest in any of the following?

' 16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

YOS oo eeeceeseeeeceneeeee Institution name:

Current value of the
portion you own?

Do not deduct secured claims -

or exemptions.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

17.1. Checking account: $
17.2. Checking account: $
17,3. Savings account: $
17.4. Savings account: $
i 17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7, Other financial account: $
17.8. Other financial account: $
17.9. Other financial account: $
_ 18.Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
C) No
YOS wees Institution or issuer name:
Reorn » 182.45
$
é
: 49, Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
Ano Name of entity: % of ownership:
L) Yes. Give specific 0% % §
information about 0% TT
THEM... eeeceeeecerneeees ° ts $
o,
0% % s

 

Official Form 106A/B Schedule A/B: Property

page 5
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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é
Debtor 1 * | os \ | L (aS Naw Al 4 ( i a Case number (if known),
First Name Middle Name Last Name
20, Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
1 No
C) Yes. Give specific Issuer name:
information about
them......... eee $e
$
$
24. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
yw No
LJ Yes. List each
account separately. Type of account: Institution name:
401(k) or similar plan: $F
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
: 22. Security deposits and prepayments
i Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
no
7 Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
WW no
a en Issuer name and description:
$
$
$
Official Form 106A/B Schedule A/B: Property page 6

 

 
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wor lS loShaun pray cas ruber vm

First Name Middle Name Last Name

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

No

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

; 25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit
FANo
CI Yes. Give specific
information about them.... $

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

Wi No

L} Yes. Give specific
information about them.... $

 

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

No

C) Yes. Give specific
information about them.... $

 

 

 

 

| Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you

No

Yes. Give specific information
about them, including whether
you already filed the returns State:
and the tax years. ........ cesses

 

Federal:

Local:

 

 

 

- 29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

C) No
Df ves. Give specific information..............

 

Alimony:

$F
Maintenance: $
Support: 5 BLES
Divorce settlement:

$
Property settlement: $

 

 

 

30. Other amounts someone owes you
i Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
PANo

UL) Yes. Give specific information...............

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 7
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sows (WSO LaShawn Brown seve ne an

First Name Middle Name

31, Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

tL] No

Yes. Name the insurance company

, -™ Company name: Beneficiary:
of each policy and list its value. ...

Surrender or refund value:

$

 

 

| 32. Any interest in property that is due you from someone who has died

\f you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

UL) No

 

 

Kl ves. Give specific information.............. he Seripps Ristanen dn oh Ln: 42

1p

 

 

_ 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

re

 

L) Yes. Describe each claim. ..........0..06

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

PL No

 

QJ Yes. Describe each claim. ..........00--

 

 

 

35. Any financial assets you did not already list

 

ANo

(2 Yes. Give specific information............

 

 

 

' 36, Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

for Part 4. Write that number here .........cccccccccssesssssssecccsssssseececesseeesecccssnessesssnusssssssseesensnacseressoumensonnmiteesanescareesannnssestaseenserstatany >

 

 

AVG %

 

 

 

eee Peserve Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

: 37.Do you own or have any legal or equitable interest in any business-related property?

PAL No. Go to Part 6.
LI Yes. Go to line 38.

| 38. Accounts receivable or commissions you already earned

CL) No

 

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

 

UL) Yes. Describe.......

 

 

 

| 39. Office equipment, furnishings, and supplies

Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

C) No

 

O Yes. Describe.......

 

 

 

Official Form 106A/B Schedule A/B: Property

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First Name Middle Nafne Nam:

cows LOSI LaShawn “Dy dw cae ern

40.Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

LJ No

 

U) Yes. Describe.......

 

 

 

41.Inventory

C) No

 

©) Yes. Describe.......

 

 

 

_ 42.Interests in partnerships or joint ventures

LI No

LI Yes. Describe.......
%
%
%

 

 

43, Customer lists, mailing lists, or other compilations
LJ) No
CL) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

C) No

Name of entity: % of ownership:

 

C2 Yes. Describe........

 

 

 

44. Any business-related property you did not already list
CL) No
UL) Yes. Give specific

 

information .........

 

 

 

FPF fF Ff GF HF

 

45, Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached

for Part 5. Write that mumber here ..........cccccccccceccceccsseessssesssecsssseesssssssecsssesssssessaesesseceesecsseccnsseeesaneeeseesseeesanstssiiessimessussssesceeneeesseess >

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an interest In.

If you own or have an interest in farmland, list it in Part 1.

 

 

 

 

 

 

i

' 46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

fh No. Go to Part 7.
LC) Yes. Go to line 47.

__ 47. Farm animals
Examples: Livestock, poultry, farm-raised fish

UL No

 

 

 

 

Official Form 106A/B Schedule A/B: Property

Current value of the
portion you own?

Do not deduct secured claims |

or exemptions.

page 9
le lashawn Anw case nuter un

First Name Middle Name Last Name

Debtor,1 *

48. Crops—either growing or harvested

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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C2 No
LI) Yes. Give specific
information. ............ $
. 49.Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
CL) No
CD Yes wc:
$
50. Farm and fishing supplies, chemicals, and feed
C3 No
i  :\c
$
_ 51. Any farm- and commercial fishing-related property you did not already list
CL) No
C) Yes. Give specific
information. ............. $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
for Part 6. Write that number here
Ea Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
HW No
CL) Yes. Give specific §
information. ............
_ 54. Add the dollar value of all of your entries from Part 7. Write that number here 0.0... ecccecceeeeesestsensnteesnesenneeeen $.
List the Totals of Each Part of this Form
_ $5, Part 1: Total real estate, lime 2 oes sssesssssssesessssessecscceseecseseessnsasssssvansnsusessusstsssseesseceesessesenseesesesssssssusstttisvisnisvsssasuusteerssseeeeeee $
56. Part 2: Total vehicles, line 5 $
_ §7.Part 3: Total personal and household items, line 15 $
. §58.Part 4: Total financial assets, line 36 $
59. Part 5: Total business-related property, line 45 $
. 60.Part 6: Total farm- and fishing-related property, line 52 $
61. Part 7: Total other property not listed, line 54 +3
62. Total personal property. Add lines 56 through 61, ..........0.000. $ Copy personal property total > *$
63. Total of all property on Schedule AJB. Add line 55 + line 62.00.00... csesesescesccesecseeccessscsecscavecsusesesesessavscesevevacarecasees $

Official Form 106A/B Schedule A/B: Property

 

 

page 10

 

 
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Fill in this information to identify your case:

oor LOSI Law brown

First Nam

Debtor 2 a Be

Middle Name Last Name

(Spouse, if filing) First Name | Middle Name Last Name

United States Bankruptcy Court for the: Central District of California

 

Case number Q) Check if this is an
{If known) amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds——may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

EE teentity the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

( You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
U) You are claiming federal exemptions. 11 U.S.C. § 522(b){2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Brief ¢ )
description: $ Os
; L) 100% of fair market value, up to
Line from .
Schedule A/B: any applicable statutory limit
Brief
description: $ G- Os
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief f )
description: $ Os
Line from CL) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
Pi no
CD Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
a No
L) Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of __
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Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Official Form 106C

First Name Middle Name Last Name
eo Additional Page
Brief description of the property and line Current value of the Amount of the exemption you claim Specific laws that allow exemption
on Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B

$ Ca Os

Q2 100% of fair market value, up to

—__ any applicable statutory limit

&

Os

LC) 100% of fair market value, up to
any applicable statutory limit

Os

C) 100% of fair market value, up to
any applicable statutory limit

Os

LJ 100% of fair market value, up to
any applicable statutory limit

oP

Lis

L3 100% of fair market value, up to
any applicable statutory limit

Os
() 100% of fair market value, up to
any applicable statutory limit

Os
(2 100% of fair market value, up to
any applicable statutory limit

Oo ke |e

Os

() 100% of fair market value, up to
any applicable statutory limit

Os

C2 100% of fair market value, up to
any applicable statutory limit

Os

C) 100% of fair market value, up to
any applicable statutory limit

g © ®

Os

(3 100% of fair market value, up to
any applicable statutory limit

~

Ls

OC) 100% of fair market value, up to

— any applicable statutory limit

Schedule C: The Property You Claim as Exempt page__—of_
Case 19-04033-LA7 Filed 07/05/19 Entered 07/05/19 14:16:33 Doc1 Pg. 23 of 64

Fill in this information to identify your case:

Wie Lasawyr

a
First NG} Middle Name

Ac

owl)

Last Name

Debtor 1

Debtor 2

(Spouse, if filing) First Namp Middie Name Lagt Nate .
United States Bankruptcy Court for the’ b evn District of | { ir Mov

Case number
{If known)

 

L) Check if this is an
amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

12/15

 

1. Do any creditors have claims secured by your property?
lo. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
C) Yes. Fill in all of the information below.

iio List All Secured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.
As much as possible, list the claims in alphabetical order according to the creditor's name.
[ 2.4] Describe the property that secures the claim: $. $ $
Creditor’s Name
Number Street
As of the date you file, the claim is: Check all that apply.
0) Contingent
(1 Unliquidated
City State ZIP Code Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C) Debtor 1 only (J An agreement you made (such as mortgage or secured
Q) Debtor 2 only car loan)
( Debtor 1 and Debtor 2 only QO Statutory lien (such as tax lien, mechanic's lien)
OQ Atleast one of the debtors and another L) Judgment tien from a lawsuit
C2 other (including a right to offset)
C] Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number _
| 2.2] Describe the property that secures the claim: $ $ $
Creditor's Name
Number Street
As of the date you file, the claim is: Check all that apply.
O Contingent
C2 Unliquidated
City State ZIP Code Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C) Debtor 1 only (2 An agreement you made (such as mortgage or secured
LJ Debtor 2 only car loan)
2 Debtor 1 and Debtor 2 only QO Statutory lien (such as tax lien, mechanic’s lien)
C) Atleast one of the debtors and another CJ Judgment tien from a lawsuit
C) other {including a right to offset)
O) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of accountnumber —__ _
Add the dollar value of your entries in Column A on this page. Write that number here: po
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of
Case 19-04033-LA7 Filed 07/05/19 Entered 07/05/19 14:16:33 Doc 1

a (ee LaShawn Browy

 

Firstfame Middle Name

Case number (if known),
Last Name

 

Additional Page

After listing any entries on this page, number them beginning with 2.3, followed

by 2.4, and so forth.

 

 

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Describe the property that secures the claim: $ $
Creditor’s Name
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
City State ZIP Code OQ) unliquidated
Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C) Debtor 1 only C) An agreement you made (such as mortgage or secured
(2 Debtor 2 only car loan)
(2 Debtor 1 and Debtor 2 only Q Statutory lien (such as tax lien, mechanic’s lien)
QC) Atleast one of the debtors and another LY Judgment lien from a lawsuit
C) other (including a right to offset)
OQ) Cheek if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number _
L_| Describe the property that secures the claim: $ $
Creditor’s Name
Number Street
As of the date you file, the claim is: Check all that apply.
O Contingent
Q Unliquidated
City State ZIP Code QO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
U1 Debtor 1 only C) An agreement you made (such as mortgage or secured
U Debtor 2 only car loan)
L) Debtor 1 and Debtor 2 only (J Statutory lien (such as tax lien, mechanic's lien)
C) Atleast one of the debtors and another O Judgment lien from a lawsuit
U) Check if this claim relates to a O other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number __ ee
L_| Describe the property that secures the claim: $ $
Creditor's Name
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
City State ZIP Code ( Unliquidated
Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
CL} Debtor 1 only LJ An agreement you made (such as mortgage or secured
C) Debtor 2 only car loan)
QO) Debtor 1 and Debtor 2 only (2) Statutory lien (such as tax lien, mechanic's lien)
{) Atleast one of the debtors and another CJ) Judgment lien from a lawsuit
(J Other (including a right to offset)
() Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number ___ _
Add the dollar value of your entries in Column A on this page. Write that number here: s
If this is the last page of your form, add the dollar value totals from all pages.
Write that number here: $
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page of
Case 19-04033-LA7 Filed 07/05/19 Entered 07/05/19 14:16:33 Doc1 Pg. 25 of 64

* — Debtor 1 L 5 [ l £ [Shaw “Ao wn Case number (if known)

First Name Middle Name Last Name

 

List Others to Be Notified for a Debt That You Already Listed

  
  

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
be notified for any debts in Part 1, do not fill out or submit this page.

On which line in Part 1 did you enter the creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Last 4 digits of accountnumber
Number Street
City State ZIP Code

On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ___ _
Number Street
City State ZIP Code

On which line in Part 1 did you enter the creditor?
Name Last 4 digits of accountnumber—
Number Street
City State ZIP Code

On which line in Part 1 did you enter the creditor?
Name Last 4 digits of accountnumber
Number Street
City State ZIP Code

On which line in Part 1 did you enter the creditor?
Name Last 4 digits of accountnumber—
Number Street
City State ZIP Code

On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number
Number Street
City State ZIP Code

 

 

Official Form 106D Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page of
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*

Fillin this information to identify your case:

Debtor 1 | L i

Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of
c , C) Check if this is an
(iknewn) er amended filing

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is

needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

 

Ea List All of Your PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?
LJ No. Go to Part 2.
Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

- Ns Ow é {y re bro lla Last 4 digits of account number A A 4 al 31 |
‘jase

 

 

 

 

 

 

Prigrity Creditor’s Nanle ;
0 ) me | 4 001 When was the debt incurred?

Number ~ Street

+— As of the date you file, the claim is: Check all that apply.

 

SI Vie

City U State ZIP Code
Who incurred the debt? Check one.
C) Debtor 1 only

C) Debtor 2 only Type of PRIORITY unsecured claim:
Q) Debtor 1 and Debtor 2 only
At least one of the debtors and another

O Contingent
Unliquidated
OQ Disputed

QO) Domestic support obligations
C) Taxes and certain other debts you owe the government

 

 

 

  

 

C1 Check if this claim is for a community debt (2 Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated | d i
jo O) other. Specity_ \) A } mM ud
Yes by 1 Fi AA A 7 A
2 | A 6 ; Last 4 digits of account number Yy Yr Ad 34 (0000 _ 3 4 (nb00 §

Priority Cregitor's Name ) ;

‘hh \ A ( When was the debt incurred?
Number Street”

As of the date you file, the claim is: Check all that apply.

 

 

 

UML (ri X A1ATh Q Contingent

City” State ZIP Code Unliquidated
0 incurred the debt? Check one. isputed

 

Debtor 1 only
ebtor 2 only
L) Debtor 1 and Debtor 2 only
O) At least one of the debtors and another

Type of PRIORITY unsecured claim:
UL) Domestic support obligations
U) Taxes and certain other debts you owe the government

C) Claims ¢ [injury whil
Cl Check if this claim is for a community debt laims for death or personal injury while you were

intoxicated
Is the claim subject to offset? MWe otner. Specify
OQ) No
Q Yes

 

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims paae 1 of
: male x Te ty Wa WW) MDW 07/05/19 14:16:33 Doci1 Pg. 27 of 64
Debtor 1 SUL fh \ Case number (i known)

First Name Middle Name Last Name

Your PRIORITY Unsecured Claims — Continuation Page

    

 

 
 
  

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. : Total cla

2 i AV Last 4 digits of account number A G a4 Hate

Prigrity Cfogitor’siName

0% yn B When was the debt incurred?

 

    
  

 

 

 

 

 

 

 

Number " Street
As of the date you file, the claim is: Check all that apply.
Y $i) O Contingent
City fate ZIP Code Unliquidated

QQ Disputed
Who incurred the debt? Check one.

Debtor 1 only Type of PRIORITY unsecured claim:
O) Debtor 2 only
(J Debtor 1 and Debtor 2 only
CI At least one of the debtors and another

C) Domestic support obligations
Q) Taxes and certain other debts you owe the government
Q Claims for death or personal injury while you were

QO) Check if this claim is for a community debt intoxicated
4 otner Specify

Is the claim subject to offset?

C) No
Q es

8p ae ib
ast ‘ Pv Uy é Caco Hee tH Clean digits of account number A, Q Q 4 laBAD ddd, Aas?
0 box ny HO 04 When was the debt incurred?

Number Street

 

 

 

 

As of the date you file, the claim is: Check all that apply.

Von Dea CA IDWO- Bonin

 

City ‘State ZIP Code Unliquidated
OQ Disputed
Who incurred the debt? Check one.
Debtor 1 only Type of PRIORITY unsecured claim:
C) Bebtor 2 only
C) Debtor 1 and Debtor 2 only
() At least one of the debtors and another

O) Domestic support obligations
U) Taxes and certain other debts you owe the government

C) claims for death o personal injury while you were
intoxicated

O) Check if this claim is for a community debt
Other. Specify

 

 

Is the claim subject to offset?

No
mn

. I ‘Ano iL) Last 4 digits of account number Q A a $ 0 | A, 4 A 143 #Q 10
epi le Pann When was the debt incurred? | a A, Dv +

 

4

 

 

S

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
Vannesi , BP B01 conn
State ZIP Code Unliquidated

 

Disputed
Who incurred the debt? Check one.
Q) Debtor 1 only Type of PRIORITY unsecured claim:
Q) Debtor 2 only
C1 Debtor 4 and Debtor 2 only
At least one of the debtors and another

C) Domestic support obligations
L) Taxes and certain other debts you owe the government

Q) Claims for death or personal i injury while you were
intoxicated

Q) Check if this claim is for a community debt Q
y ny Other. Specify K pin rw
Is the claim subject to offset?

No
Yes

 

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of
, TF Fl if lat Filed 07/05/19 yess 07/05/19 14:16:33 Doci1 Pg. 28 of 64
Debtor 1 | wir OW Case number (if known)

FirstName ~ Middle Name \ Name

 

 

Your PRIORITY Unsecured Claims — Continuation Page

 

 
  
 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. Total claim,

Za (iumay bre “inane uneanecrnannmn A VAY 1850.16) 7183p
"RAO (hastnin Vegdiws When was the debt incurred? | ay] aid

Number Street

 

As of the date you file, the claim is: Check all that apply.

Langit CoA pd a contngen

city State ZIP Code Unliquidated
Ql Disputed

 

Who incurred the debt? Check one.
Poeve 1 only Type of PRIORITY unsecured claim:
UO debtor 2 only

(2 Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

L) Domestic support obligations
C) Taxes and certain other debts you owe the government

Q) Claims for death or personal injury while you were
intoxicated

L) Check if this claim is for a community debt
KA other Specify

 

Is the claim subject to offset?

No
QO Yes

 

 

_ Suey Capital Fy SHAME sate raccomt numer LA QT UGX. 406 . 10507
ty melland Ya When was the debt incurred? Alaa laoip

Number Street
As of the date you file, the claim is: Check all that apply.

Vink Clin AN 5003 conse

City State ZIP Code YM Uniauidated
Disputed

 

 

Who incurred the debt? Check one.

Pi pever 1 only Type of PRIORITY unsecured claim:
Debtor 2 only

O) Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

O Domestic support obligations
(J) Taxes and certain other debts you owe the government
C) Claims for death or personal injury while you were

Q) Check if this claim is for a community debt intoxicated Y Wry WW
FL otter. Specify t H

Is the claim subject to offset?

No
QO) Yes

 

 

Last 4 digits of accountnumber $ $. $

 

 

Priority Creditor's Name

When was the debt incurred?

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
O Contingent

City State ZIP Code Q) Unliquidatea

Q Disputed
Who incurred the debt? Check one.

C) Debtor 4 only Type of PRIORITY unsecured claim:
L) Debtor 2 only

 

 

LC) Domestic support obligations
CJ Debtor 1 and Debtor 2 only .
O) Taxes and certain other debts you owe the government
U1 At least one of the debtors and another : aa :
CJ claims for death or personal injury while you were
C) Check if this claim is for a community debt intoxicated
L Other. Specify
Is the claim subject to offset?
C) No
QO) Yes

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of
. PD i, tas Filed O hy yr 07/05/19 14:16:33 Doci1 Pg. 29 of 64
Debtor 1 Au wi DW Case number (if known),

First Name Middle Name Last Name

Cr List All of Your NONPRIORITY Unsecured Claims

 

3. Dg any creditors have nonpriority unsecured claims against you?
Bi. You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes
4, List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
claims fill out the Continuation Page of Part 2.

lam ih 1 he ‘ Last 4 digits of account number A Q 4 » W586
49% When was the debt incurred? { } t

   
  

ON 4 A lam

 

 

 

Nymber Street
Atami, Ty 1b
City State ZIP Code As of the date you file, the claim is: Check all that apply.
QO Contingent
Who incurred the debt? Check one. WM uniiquidated
Woertor 1 only oO Disputed
C) Debtor 2 only
() Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
() At least one of the debtors and another (2 Student loans
O Check if this claim is for a community debt OQ Obligations arising out of a separation agreement or divorce

that you did not report as priority claims

Is the claim subject to offset? C) Debts to pension pr profit-sharing plans, and other similar debts
Wino PA other. Specify rd

QC) ves
| i yD

A DA oy
42 | 4 Ni ib & \ Last 4 digits of account number vy Vt AT s_ AL

Noporiority b Oy. "h 6 8 When was the debt incurred? | 6 2 vif

Street
in dik Ke, MN ° } of As of the date you file, the claim is: Check all that apply.

 

 

2.3

 

 

City” State’ ZIP Code gO Contingent
Who incurred the debt? Check one. PA vriaviceted
Disputed

Debtor 1 only
Debtor 2 only

OQ debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:

 

C1 At least one of the debtors and another C) Student loans
eee , . Q) Obligations arising out of a separation agreement or divorce
() Check if this claim is for a community debt that you did not report as priority claims
Is,the claim subject to offset? Q) Debts to me Ok MA It and other similar debts
No a Other. Specify Mn
L Yes

a A

Last 4 digits of account number OF Y “1 $ 4 vA

When was the debt incurred?

UT Had As of the date you file, the claim is: Check all that apply.

“State ZIP Code

 

 

 

OQ Contingent

Who incurred the debt? Check one. Wu liquidated
niqguidate:
PLdebtor 1 only O bisputea
CL) Debtor 2 only
Q) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:

() At least one of the debtors and another
C) Student ioans

 

C) Check if this claim is for a community debt O Obligations arising out of a separation agreement or divorce
. 1 that you did not report as priority claims
Is the claim subject to offset? y P prion’y .
UO) Debts to ee or (ad due la other similar debts
° HL:
Other. Speci
Q) Yes P iy L

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of
‘* Cas (Is ;8@4033-L (qt Ww
. Debtor 1 lie

First Name v |p Name (1 Name

Case number (if known)

Your NONPRIORITY Unsecured Claims — Continuation Page

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44 Gordlays Honk. Deleware

 

0 fox. 7 e104
Wil muta dE 140A

City State ZIP Code

Who incurred the debt? Check one.

A verter 1 only

C) Debtor 2 only
() Debtor 1 and Debtor 2 only
LU) At least one of the debtors and another

LJ Check if this claim is for a community debt

Is the claim subject to offset?

tno

U) Yes

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

Last 4 digits of account number a O a 4

When was the debt incurred? 0 4 i

As of the date you file, the claim is: Check all that apply.

CQ) Contingent

P_Uniiquidated

O Disputed

Type of NONPRIORITY unsecured claim:

Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C} Debts to pension or Vidi and and other similar debts
C2 other. Specify (WV (4

 

 

 

 

 Syncb / SO Unnw

ig "es
Ov landd, EL 2agAlo

city State ZIP Code

 

Who incurred the debt? Check one.

Wbebtor 1 only

UL) Debtor 2 only

() Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

QC) No
OQ Yes

Last 4 digits of account number —~ OF A ol” 1

When was the debt incurred? [0 | | | 15

As of the date you file, the claim is: Check all that apply.

) Contingent

PA unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

() Student loans

C] Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(J Debts to pension or profit-sharing glans, agd other similar debts

YA other. Specify oy

: 550

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ve N Cbd ‘py Ynglida
D er
“Heavy in. Ol 410

City” State ZIP Code

°

 

Who incurred the debt? Check one.

ost 1 only
Debtor 2 only
() Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

L) Check if this claim is for a community debt

Is the claim subject to offset?

Yes

 

Last 4 digits of account number oO A At
When was the debt incurred? | | | | Qo! 6

As of the date you file, the claim is: Check all that apply.

(3 Contingent
Unliquidated
as) isputed

Type of NONPRIORITY unsecured claim:

(J Student toans

O Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

QO) Debts to pension o'

PA other. Specify

 
 
 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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“Se AN

Middle Name

Debtor 1

First Name Last Name

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Case number (if known)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

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After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

SIU ae Calls Ob 51116

City ZIP Code

Who incurred the debt? Check one.
Floste 1 only
Debtor 2 only
C3 Debtor 1 and Debtor 2 only
C At least one of the debtors and another

U3 Check if this claim is for a community debt

Is the claim subject to offset?

ee

 

Last 4 digits of account number “A A aT
a\ [D | 16

As of the date you file, the claim is: Check all that apply.

When was the debt incurred?

OQ) Contingent
) Unliquidated
U Disputed

Type of NONPRIORITY unsecured claim:

(J student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

QO} Debts to pensio Vi fityshapi gp nd gther similar debts
_ other, Specify.

 

MP Cudek Visi
“pall ¢. Comhnonted Blud +1
STK PA Tha

City” State

 

ZIP Code

Who incurred the debt? Check one.

ebtor 1 only
C) Debtor 2 only
C) Debtor 1 and Debtor 2 only
CJ At least one of the debtors and another

QC) Check if this claim is for a community debt

Is the claim subject to offset?

He
Yes

Last 4 digits of account number a a a qa
O\ialid

As of the date you file, the claim is: Check all that apply.

When was the debt incurred?

() Contingent
PA untied
Disputed
Type of NONPRIORITY unsecured claim:

QJ Student loans

C) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
CL) Debts to pension gn profit-sharing glans,

C) other. Specify

id other similar debts

 

A Cgta)_ One
“DS BY BIN
Fil a

Who incurred the debt? Check one.

 

 

 

 

 

ZIP Code

Debtor 1 only
Debtor 2 only
C) Debtor 1 and Debtor 2 only
CO At least one of the debtors and another

() Check if this claim is for a community debt

Is the claim subject to offset?

No
Yes

 

‘Td Ci Ur © OD

Wa

 

 

4 $
Last 4 digits of account number A A a

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

O Contingent

Q) Unliquidated

Q Disputed

Type of NONPRIORITY unsecured claim:

(J Student loans
QO Obligations arising out of a separation agreement or divorce that

you did not report as priority claims
QQ Debts to pension f" rps fl er similar debts
Y other Specify t \y hal

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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. ee Nl 033- oy Mi Wi) POLO wh) 07/05/19 14:16:33 Doci1 Pg. 32 of 64
Debtor 1 tt Case number (i known)

eaters Middle Name Last Name

pan: Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

4.19 \Y\ Vv wen Ke (' wel M f wee Last 4 digits of account number O q aK
aaprigrty Py “A ( b When was the debt incurred? Alan a

ber $s
Ain Ail lf Vi, ?, | a As of the date you file, the claim is: Check all that apply.

 

 

 

 

 

 

 

 

 

 

 

 

State ZIP Code Q Contingent
Unliquidated
Who incurred the debt? Check one. Q) Disputed
Mi dont 14 only
ebtor 2 only Type of NONPRIORITY unsecured claim:

C) Debtor 1 and Debtor 2 only

(2 Student loans
(C) At least one of the debtors and another

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? CQ other. Specify

No
QO) Yes

Hb Ne vant Cae Lasts digs of account numer AD 2 -_| [oat

‘10 ap i WW on” A, Ke de [ OD When was the debt incurred? _| laa Aa Ob [ Q
‘vt le L fL A aD rr [ As of the date you file, the claim is: Check all that apply.

Q) Check if this claim is for a community debt

 

 

 

 

 

 

 

 

 

City” State ZIP Code Q) Contingent
Unliquidated
Who incurred the debt? Check one. (J Disputed

Debtor 1 only
UI Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Debtor 1 and Debtor 2 only

CJ Student loans
(L} At ieast one of the debtors and another

QO Obligations arising out of a separation agreement or divorce that

C) Check if this claim is for a community debt you did not report as priority claims

 

QO) Debts to pension onpro} ing plans{ and other similar debts
Is the claim subject to offset? Of other. Specify er { if |
++ + hot
No
QO) Yes

 

 

an _ Dito boas ¢ Cee Last 4 digits of account number Y JY qT s510~
{ ( Ke AE| | | When was the debt incurred? v 5 aold

ber Street . oar
Stunt. Amt A, (ME Y a As of the date you file, the claim is: Check ail that apply.

 

 

 

 

City, : State ZIP Code O Contingent
Unliquidated
Who incurred the debt? Check one. C) Disputed

Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
L) Debtor 1 and Debtor 2 only

CJ Student loans
UL} At least one of the debtors and another

Q) Obligations arising out of a separation agreement or divorce that

C1) Check if this claim is for a community debt you did not report as hye Hairs,
PCO afoot debts

Debts to pension op
Is the claim subject to offset? Other. Specify

hee (di Cuore

 

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of
FONE. CASAC Mon /05/19 14:16:33 Doci1 Pg. 33 of 64
Debtor 1 Le O Case number (if known)

First Name Middle Name Last Name

ieiawse Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

t/3 “TH M b by )ev Last 4 digits of account number AK A t+
“OD POX, A AK O When was the debt incurred? a 002,

Number Street

 

 

 

 

 

 

 
 
 
    

As of the date you file, the claim is: Check all that apply.

ZIP Code ( Contingent

Unliquidated
Who incurred the debt? Check one. U) disputed

Debtor 1 only
btor 2 only Type of NONPRIORITY unsecured claim:
C) Debtor 1 and Debtor 2 only

(2 Student toans
(C) At least one of the debtors and another

QO Obligations arising out of a separation agreement or divorce that
(2 Check if this claim is for a community debt you did not report 3s Priority claims a

Cl Debts to pension rofit-gharing plan ot¢r similar debts
Is the claim subject to offset? > Other. Specify CaN

Yes

4.14 Sov Unde Last 4 digits of account number q AX s (200
“DO BoX Ly Q | When was the debt incurred? AO

“Cav ot Sr Lounn ie @ Ol A) As of the date you file, the claim is: Check all that apply.
. Code

City State C) Contingent
PEUntiquidatea

LJ Disputed

 

 

 

 

Who incurred the debt? Check one.

Hoe 1 only
Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Debtor 1 and Debtor 2 only

OQ Student loans
() At least one of the debtors and another

QO Obligations arising out of a separation agreement or divorce that

C) Check if this claim is for a community debt you did not in eh . .
Q) Debts to pension rofit-sh vy plans, and Os similar depts
Is the claim subject to offset? GX other. Specify Vice YU Lote >
OQ) No
O) Yes
‘ sf’

td UT Gq TT Last 4 digits of account number Ya 7 100%

 

 

 

 

 

Nonpraxity Creditor’sfName
0 y | O 22D When was the debt incurred?
Numb Stree YA f
CH 4 "\ QUE. TN Lig (5| As of the date you file, the claim is: Check all that apply.
oye v U 1 state ZIP Code (Contingent
BM pniiquidated
Who incurred the debt? Check one. O Disputed
Phos 1 only
Debtor 2 only Type of NONPRIORITY unsecured claim:

(2 Debtor 4 and Debtor 2 only

(2 Student loans
(C) At least one of the debtors and another

QO Obligations arising out of a separation agreement or divorce that

C2 Check if this claim is for a community debt you did not report riority Claires st
(Debts to pension off. ing plans, ang ofhey similar gebts

Is the claim subject to offset? FA otter. Specify __¢ 1 ( by |

Bayo

L) Yes

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of
. LDS free, oy! Wau 2B ntered 07/05/19 14:16:33 Doc1 Pg. 34 of 64
Debtor 1 Case number (if known)

First Name Middle Name Last Name

Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

Mt Dir Vd (+ Cn hh Last 4 digits of account number AD

Nongpmiority Credito Cy.

Q bree i Wan 1 4 WE #96 When was the debt incurred? D
“thy AX f A 4 oly As of the date you file, the claim is: Check all that apply.

 

ie
gf

 

City State AP Code (2 Contingent
Unliquidated
Who incurred the debt? Check one. Disputed
Ph cet 1 only
Debtor 2 only Type of NONPRIORITY unsecured claim:

Q) Debtor 1 and Debtor 2 only

QO Student loans
C) At least one of the debtors and another

Q Obligations arising out of a separation agreement or divorce that

QO) Cheek if this claim is for a community debt you did not report ar priority claims aa
QO) Debts to pension oKgrofitssparing ‘plansyand offés similar dats
Is the claim subject to offset? Horner Specify | CL Pov l
BS
Yes

ea Guegnn DUNIAU Gpyp— snssen o nme EI a7 00)
OU RUS MNbo SI. OC) When was the debt incurred? & CO

Number Street : a
Ae Sm, T™%X ad! 0D 6 2 As of the date you file, the claim is: Check all that apply.
we

 

 

 

City State Code OQ Contingent
Unliquidated
Who incurred the debt? Check one. isputed
Poon 1 only
ebtor 2 only Type of NONPRIORITY unsecured claim:

LJ Debtor 1 and Debtor 2 only

(2 Student loans
O) Atleast one of the debtors and another

O Obligations arising out of a separation agreement or divorce that
: soe . i it *
Check if this claim is for a community debt you did not report é priority claims

C) Debts to pension or plans, ani similar (?
Is the claim subject to offset? O other. specify cory Cree evi Le

No
Yes

FOO
YG at YUL - Cute Last 4 digits of account number an a. 7 s GOU
(9656 Si LY te ny DO, When was the debt incurred? _ O/\*" —~

Hy vIn , TX 4 1INdS | As of the date you file, the claim is: Check all that apply.

 

 

 

Gly ZIP Code QO Contingent
Unliquidated
Who incurred the debt? Check one. Disputed
Boers 4 only
ebtor 2 only Type of NONPRIORITY unsecured claim:

(2 Debtor 4 and Debtor 2 only

(2 Student loans
C) At least one of the debtors and another

QO Obligations arising out of a separation agreement or divorce that
QO) Check if this claim is for a community debt you did not report riority claims
OC) Debts to pension o oft, h Vi CL and otiel Ea d
Is the claim subject to offset? (2 other. Specify
fe
Yes

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims paae of
_° Ca "i 040334LA7, iu PA avi 07/05/19 14:16:33 Doci1 Pg. 35 of 64
+ Debtor 1 Uy \| iL | Adu i j Case number (i known)

Last Name
4

List Others to Be Notified About a Debt That You Already Listed

 

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

p ri \ b Ry (EV On which entry in Part 1 or Part 2 did you list the original creditor?
Name
NY (oy povada, Od Sto 10 Line 4% of (Check one): O) Part 1: Creditors with Priority Unsecured Claims

Number Street 1 eg Part 2: Creditors with Nonpriority Unsecured Claims

N) bf | K V py DAB) AN Last 4 digits of account number aA r aw 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

City State ZIP Code
Ov r lo Kee HVE IN- On which entry in Part 1 or Part 2 did you list the original creditor?

Name

120 Corpevade Al Hf og [i Line 7 A of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Ndmber ‘ Stret PA Part 2: Creditors with Nonpriority Unsecured

Faron Claims

N uf it K 5 V A a 5bOW Last 4 digits of account number a 4 At

City ’ State ZIP Code

 

 

 

SU nerge H “ 0 NNW Canon, Kn. On which entry in Part 1 or Part 2 did you list the original creditor?
Rup NW . (\y nel 4 aad Line A (Check one): Bk Part 1: Creditors with Priority Unsecured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
hou N\ rl TX TIM Last 4 digits of account number C1 Q a 4
cify | a State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street C} Part 2: Creditors with Nonpriority Unsecured
Claims
- Last 4 digits ofaccountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street OQ) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): () Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City State ZIP Code
x On which entry in Part 1 or Part 2 did you list the original creditor?
Jame
Line of (Check one): C) Part 1: Creditors with Priority Unsecured Claims
$s
Number weet Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Gity State ZIP Code Last 4 digits of account number ___ Le

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of
me 19-04033-LA7_ -Filed in AW 14:16:33 Doci1 Pg. 36 of 64
Debtor 1 = iN LL Cas Ww Yd Case number (if known)

Middle Name Last Name

 

Add the Amounts for Each Type of Unsecured Claim

‘

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.

Add the amounts for each type of unsecured claim.

Total claim

6a. Domestic support obligations 6a. $ A bd O

Total claims

 

 

 

 

 

from Part 1 6b. Taxes and certain other debts you owe the Q
government 6b. $ \ D | p
6c. Claims for death or personal injury while you were
intoxicated 6c. _ dhe &-
$ Lov
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. +4. | 7, tA
6e. Total. Add lines 6a through 6d. 6e. 24
$ ) |
Total claim
Total claims ©! Student loans 6f. $ Hd Oat
from Part 2 6g. Obligations arising out of a separation agreement
or divorce that you did not report as priority L-
claims 6g. $
6h. Debts to pension or profit-sharing plans, and other ¢ ) ,
similar debts 6h. $

6i. Other. Add all other nonpriority unsecured claims.

Write that amount here. 6. +s [5 | (Ht

6j. Total. Add lines 6f through 6i. 6). A] | YD
$

 

 

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims paqe

of

 
Case 19-04033-LA7 Filed 07/05/19 Entered 07/05/19 14:16:33 Doc1 Pg. 37 of 64

Fill in this information to identify your case:

Debtor | ts iL LQ Sh hh WW y\

First i uv “Middle Name

Tew

Last Name

Debtor 2

 

*

(Spouse ff filing) First Narge Middle Name Laat Name
United States Bankruptcy Court for nos tnethert District of t hs hte

Case number . an
(If known) L) Check if this is an

amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
C) Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for

example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code
2.3

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

Name

 

Number Street

 

 

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of
Case 19-04033-LA7 Filed 07/05/19 Entered 07/05/19 14:16:33 Doc1 Pg. 38 of 64

sie (aShown “Kupwit

4

Debtor 1
. Fi

 

Jame

Middle Name

Case number (if known),
Last Name

F | Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease

 

Name

 

Number

’ Street

 

City

State

ZIP Code

What the contract or lease is for

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

Name

 

Number

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City

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ZIP Code

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

Name

 

Number

Street

 

 

City

State

ZIP Code

 

Official Form 106G

Schedule G: Executory Contracts and Unexpired Leases

page

of
Case 19-04033-LA7 Filed 07/05/19 Entered 07/05/19 14:16:33 Doc1 Pg. 39 of 64

 

Fill in this information to identify your case:

Debtor 1 p ie ) AWY\ f Yow)

ky Middle Name “ Last Name

Debtor 2

(Spouse, if filing) First A Hee Middle Name Last f

United States Bankruptcy Court for the: bY f\ District of bt I { (Me
Case number

(If known}

 

 

L) Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

LI No
Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

LJ No. Go to line 3.
Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

VLNo

C) Yes. In which community state or territory did you live? . Fillin the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

X ole ib Nath f Q) Schedule D, line
VOL SU ‘rund unl, YA schedute EMF, line Ae

“andM, N LVAS 44 oud Q) Schedule G, line

City ¥ * State ZIP Code

3.2 |) b wy! 1 i wy) _ ) Schedule D, tine =
“Udy alldae Gre Drive #9) FA. Scheie EF ne K
Nan y om ay Kyl6 Q) Schedule G, line NN

City State ZIP Code

3.3 Robert WManthp. OU) Schedule D, line

= ~| ‘ad! 0 ay Win, oon il | Dn YA sched Ef. tine QL
Vu Sin , AY ‘ad VW go ™ G, line

 

3.

=

 

 

 

 

 

 

 

 

 

 

 

 

City! 7 State ZIP Code

 

 

 

 

Official Form 106H Schedule H: Your Codebtors page 1 of
* ’Case 19-04033-LA7 Filed 07/05/19 Entered 07/05/19 14:16:33 Doc1 Pg. 40 of 64

  

   

Fill in this information to identify your case:

ow == LS Lathan

First Name Middle Name
Debtor 2 vier VA

(Spouse, if filing) First Nafne Middle Name if am
United States Bankruptcy Court for the: \ mf hes / district of (el Al i Oe

Case number

 
 

     

OWN

Last Name

Check if this is:

 

 

 

 

{if known)
C] An amended filing
LIA supplement showing postpetition chapter 13
income as of the following date:
Official Form 1061 M7 DDT YY
Schedule I: Your Income 12/15

 

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

 

1. Fill in your employment

 

information. Debtor 1 Debtor 2 or non-filing spouse
If you have more than one job, ,

attach a separate page with

information about additional Employment status Employed CL} Employed

employers. Not employed L) Not employed

Include part-time, seasonal, or . : .
self-employed work, Occupation (Nd min Sah We (\ Ly Hd Ne

Occupation may include student

or homemaker, apples: Employer’s name the Stipe Reiner
109490

Number Street

     

Employer’s address

Vint

Number Street

 

 

La dolla, Oo O0a4

City State ZIP Code City State ZIP Code

How long employed there? “| months
| Part 2: | Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ HAG a

$

3. Estimate and list monthly overtime pay.

4. Calculate gross income. Add line 2 + line 3. 4, $ uf AY a 2 FA

 

 

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 1

 
~ * Case 19-04033-LA7 Filed 07/05/19 Entered 07/05/19 14:16:33 Doc1 Pg. 41 of 64

Debtor 1

Lisle (yShawn Row

 

First Name

Middle Name

5. List all payroll deductions:

Last Name

Copy line 4 Were... ..ccccsecccscsscscssssesssscsssssssesssscscseesesssssesessssstessesensenscessnansonees > 4.

 

 

 

friends or relatives.

Specify:

Case number (if known)

For Debtor 1

s 4aaa®

For Debtor 2 or
non-filing spouse

$

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Social Security deductions 5a. $ 2.39 $ Lae
5b. Mandatory contributions for retirement plans 5b. §$. ee $
5c. Voluntary contributions for retirement plans 5. $f $.
5d. Required repayments of retirement fund loans 5d. $ oe $ Lf
5e. Insurance 5e. § l DM: 4 \ $ L
5f. Domestic support obligations 5. §_ $ /
5g. Union dues 5g. $ C $ [
5h. Other deductions. Specify: 5h. +$ QS + 3/
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f+5g+5h. 6. $ CY ¥ $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ if 14. p $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ G- $
monthly net income. 8a.
8b. Interest and dividends 8b. ¢$ C $
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce $ ‘~- $
settlement, and property settlement. 8c. :
8d. Unemployment compensation 8d. $. O- $
8e. Social Security 8e. §$ <——- $
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies. ~~
Specify: 8f. $. $
8g. Pension or retirement income 8g. $ £>- $
8h. Other monthly income. Specify: 8h. + L- +$
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h. 9. $ Gp $
10. Calculate monthly income. Add line 7 + line 9. i) . = |s
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. 5, $ “

 

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

11.4% $ 4

 

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12.

 

5 103°

Combined
monthly income

 

 

 

 

Yes. Explain:

 

13. pico expect an increase or decrease within the year after you file this form?
lo

 

Official Form 1061

Schedule |: Your Income

page 2

 
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Fill in this information to identify your case:

Debtor 1 \ ASW\aw V\ LK 0 W l) Check if this is:

Middle Name

 

Debtor2_ C) An amended filing

(Spouse, if filing) First Name| Coat Middle Name La tN e

LUA supplement showing postpetition chapter 13
yb. District of Yr nue expenses as of the following date:

United States Bankruptcy Court for the?

Case number MM / DD/ YYYY
(If known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 1215

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Describe Your Household

1. Is this a joint case?

 

 

Pre Go to line 2
Yes. Does Debtor 2 live in a separate household?

CL) No
CJ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

2. Do you have dependents? QO) No
Dependent’s relationship to Dependent’s = Does dependent live
Do not list Debtor 1 and Pres Fill out this information for Debtor 1 or Debtor 2 age _ with you?
Debtor 2. ach dependent..........cccecen Oy
Do not state the dependents’ | yDV\ | 0 No
names. y Yes
CL} No
C) Yes
U No
O Yes
C) No
C) Yes
OQ) No
C) Yes
3. Do your expenses include No
expenses of people other than v
es

yourself and your dependents?

ra Estimate Your Ongoing Monthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage payments and $ “A 0 0
4,

any rent for the ground or lot.

If not included in line 4:

4a. Real estate taxes 4a. $ --
4b. Property, homeowner's, or renter’s insurance 4b. $ U ° | |
4c. Home maintenance, repair, and upkeep expenses 4c. $ AO O

4d. Homeowner's association or condominium dues 4d. $ a >

Official Form 106J Schedule J: Your Expenses page 1
‘ Case 19-04033-LA7 Filed 07/05/19 Entered 07/05/19 14:16:33 Doc1 Pg. 43 of 64

cor LS Lashrawn “Brown scone

 

 

First Name Middle Name Last Name
Your expenses
5. Additional mortgage payments for your residence, such as home equity loans 5. so
6. Utilities: 50 oo
6a. Electricity, heat, natural gas 6a. $

6b. Water, sewer, garbage collection 6b. $ es
ge
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ QO —

 

6d. Other. Specify: 6d. §
oo
7. Food and housekeeping supplies 7. $ ( Q O O —~
8. Childcare and children’s education costs 8. $ —O-

9. Clothing, laundry, and dry cleaning 9. $
o°
10. Personal care products and services 10. $ \ ? O —

of
11. Medical and dental expenses 11. $ 15 —~
0°
. : : po,
12. Transportation. Include gas, maintenance, bus or train fare. $ ACO
Do not include car payments. 12.
[CO”
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $
14. Charitable contributions and religious donations 14. $ G

15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance 15a.

$
15b. Health insurance 15b.  §$
15c. Vehicle insurance . . 1c. §$ PB
15d. Other insurance. Specify: and Cnildan i Ce bnguran (Q- 18d. $ AT 0 S
VU y
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. § G

 

17. Installment or lease payments:

17a. Car payments for Vehicle 1 17a, $ L-
17b. Car payments for Vehicle 2 17. $ GO
17c. Other. Specify: 17c. $ 2

 

17d. Other. Specify: 17d. $ Oo

18. Your payments of alimony, maintenance, and support that you did not report as deducted from von
your pay on line 5, Schedule |, Your Income (Official Form 106I). 18. $

19. Other p ai ments on ™ to support others who do not live with you. a)
Specify: om “| loans [Anwnesed A&ustam w)\ 19. $ | 950-7

 

20. Other real oroperty a expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property 20a. $ Oo
20b. Real estate taxes 20b. -
20c. Property, homeowner's, or renter’s insurance 20c. $ l S
20d. Maintenance, repair, and upkeep expenses 20d. $ K 0 2
20e. Homeowner's association or condominium dues 20e. $ G

Official Form 106J Schedule J: Your Expenses page 2
. Case 19-04033-LA7 Filed 07/05/19 Entered 07/05/19 14:16:33 Doc1 Pg. 44 of 64

sor VS Lasnawn Briwn cnt mtr

 

First Name Middle Name Last Name

21. Other. Specify: Gnd. Ach vies LO Son 21. +$ 5p

 

22. Calculate your monthly expenses.

It
22a. Add lines 4 through 21. 22a. | ¢ 50 4 5 ~

22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. $ N/ be

; ; - |
22c. Add line 22a and 22b. The result is your monthly expenses. 22c. $ E ) 09 5

 

 

 

23. Calculate your monthly net income.

of
23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. 3105
23b. Copy your monthly expenses from line 22c above. 23b.  —¢ S O”" c )

23c. Subtract your monthly expenses from your monthly income. { | “A oO
. . $
The result is your monthly net income. 23c.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

 

 

 

 

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

Yh

Ql Yes. | Explain here:

 

 

 

 

Official Form 106J Schedule J: Your Expenses page 3
Case 19-04033-LA7 Filed 07/05/19 Entered 07/05/19 14:16:33 Doc1 Pg. 45 of 64

Fill in this information to identify your case:

ower LPS La SNAWA BY

First Name i Last Name

Debtor 2

 

Li

(Spouse, if filing) First Name \ Middle Name ast Na .
United States Bankruptcy Court for ne Soetherrt District of | u| { Y nla
Case number

(If known)

 

QQ Check if this is an

 

 

amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 12/15

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

Pino

OQ Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

   

Signature of Debtor 1 Signature of Debtor 2

 

Date.
MM/ DD / YYYY

 

 

Official Form 106Dec Declaration About an Individual Debtor’s Schedules
Case 19-04033-LA7 Filed 07/05/19 Entered 07/05/19 14:16:33 Doc1 Pg. 46 of 64

Fill in this information to identify your case:

sor ASL LaShawn Pow

First Name Middle Name Last Name

Debtor 2

 

(Spouse, if filing) First Name iddle Name Last Nam .
United States Bankruptcy Court for not RA I \ District of | y NW

Case number . wo
(If known) ) Check if this is an

amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/19

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Ea Give Details About Your Marital Status and Where You Lived Before

 

- 4. What is your current marital status?

(Married

Pwo married

2. During the last 3 years, have you lived anywhere other than where you live now?

No
Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
CU same as Debtor 1 (CJ same as Debtor 4

GAS Povrids se Vallod. Crim (of fit tm
umber reet U To 4 Number Street ra to,
wt Ur Aa Za

Stath | ZIP Code " City ~~ State ZIP Code

| () same as Debtor 1 C) same as petor
15 Sada ofa fahleon fh aaa
° —_——_———_

 

 

 

 

 

 

Vovinn Vin
ony | D.

 

 

 

 

 

 

 

 

Number = Street U Number Street
T 1 To
a “\ 0 iL
Xan die, a ZO
City U' ‘state ZIP Code } Atty State ZIP Code

- 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No
LJ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

BEES cviain the Sources of Your Income

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
. Case 19-04033-LA7 Filed 07/05/19 Entered 07/05/19 14:16:33. Doci1 Pg. 47 of 64

Lise LaShwn Bown

First Name Middle Name Last Name

Debtor 1 Case number (if known)

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

L) No
Yes. Fill in the details.

Sources of income
Check all that apply.

ha Wages, commissions,

bonuses, tips

 

Gross income

(before deductions and
exclusions)

$ a1 Qo OL QO bones pe

Sources of income
Check all that apply.

Gross income

(before deductions and
exclusions)

s_N

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

Q Operating a business

Q Wages, commissions,

) Operating a business

NES

Q Operating a business
C) Wages, commissions,

$ 0 Ivy bonuses, tips $ Ny he
) Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

dy vi L) Wages, commissions,
. 0 bonuses, tips $ \ bonuses, tips $
(January 1 to December 31, - M ) (2 Operating a business

For the calendar year before that: OC wages, commissions,
D bonuses, tips

(January 1 to December 31,

 

 

)}Q Operating a business
YYYY

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

OL No
LI Yes. Fill in the details.

Sources of income
Describe below.

Gross income from
each source

(before deductions and
exclusions)

Sources of income
Describe below.

Gross income from
each source

(before deductions and
exclusions)

From January 1 of current year until
the date you filed for bankruptcy:

Y, 00

For last calendar year:

(January 1 to December 31, d 8 )
VY

For the calendar year before be. d \ bh. ( ) ” UY wl f, lh 00
I

(January 1 to December 31,
ADE

git

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2
Case 19-04033-LA7 Filed 07/05/19 Entered 07/05/19 14:16:33 Doc 1

cor, (Oe UL nSaw Py pw) ser snn

Middle Name

Name

Last Name vw

List Certain Payments You Made Before You Filed for Bankruptcy

Pg. 48 of 64

 

"6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

LJ No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
- “incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

UI No. Go to line 7.

LY Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Wh no. Go to line 7.

C) Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Creditors Name

Dates of Total amount paid Amount you still owe
payment

 

Number

Street

 

 

City

“State ZIP Code

 

Creditor’s Name

 

Number

Street

 

 

City

State ZIP Code

 

Creditors Name

 

Number

Street

 

 

City

State ZIP Code

Was this payment for...

QQ) Mortgage

O} car

CI credit card

QO Loan repayment

| Suppliers or vendors
CL) other

Q Mortgage

CD car

CD credit card

Cd Loan repayment

Q Suppliers or vendors
C2) other

C) Mortgage

W) car

UO credit card

O Loan repayment

O Suppliers or vendors
C2) other

 

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 3

 
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cour (Ste —Lashrawy Bri) casa

Middle Name Last Name

 

 

- 7, Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

No
re | List all payments to an insider.

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe
$ $
insider's Name
Number Street
City State ZIP Code
$ $

 

Insider's Name

 

 

Number Street

 

 

City State ZIP Code

 

 

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

Include payments on debts guaranteed or cosigned by an insider.

Fav

L) Yes. List all payments that benefited an insider.

 

Dates of Total amount Amount you still Reason for this payment

payment paid owe Include creditor's name

 

—— $ $
Insider's Name

 

 

Number Street

 

 

City State ZIP Code

 

 

insider's Name

 

Number Street

 

 

 

 

 

City ~ State” ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4
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cours [4S (shawn “Brow a

First Name Middle Name

Flees identify Legal Actions, Repossessions, and Foreclosures

 

' 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

ro

C) Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case title Court Name C) Pending
Q On appeal
Number Street L) Concluded
Case number
City State ZIP Code
Case title Court Name O Pending
UL on appeal
Number Street Q Concluded
Case number
City State ZIP Code

 

 

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check ail that apply and fill in the details below.

WAN. Goto line 11.
CY Yes. Fill in the information below.

Describe the property Date Vaiue of the property

 

 

Creditor's Name

 

 

 

 

Number Street Explain what happened

() Property was repossessed.

 

(J Property was foreclosed.
C) Property was garnished.

 

City State ZIP Code O) Property was attached, seized, or levied.

 

Describe the property Date Value of the property

 

 

Creditors Name

 

 

 

 

Number Street
Explain what happened

Property was repossessed.

 

Property was foreclosed.
Property was garnished.

 

City State ZIP Code

OCOcOoO

Property was attached, seized, or levied.

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5
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sor (She (yShawn Browye sneer

First Name Middle Name Last Name

11, Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

Yes. Fill in the details.

 

 

 

 

 

 

 

 

Describe the action the creditor took Date action Amount

was taken !

Creditors Name :
|
|

$

Number _ Street

'

i :

| (

City State ZIP Code Last 4 digits of account number: XXXX— i

j

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

No

C) Yes

List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

No
(J Yes. Fill in the details for each gift.

 

 

 

 

 

 

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code
Person's relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift
$

 

 

 

Number Street

 

City State ZIP Code

Person’s relationship to you

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
Case 19-04033-LA7 Filed 07/05/19 Entered 07/05/19 14:16:33 Doc1 Pg. 52 of 64

Debtor 1 AG \\ &y \ h \ | WIN ) bv i } | Case number (if known)

First Name Middle Name Last Name

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

Wno

CI Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 . contributed

 

 

Charity's Name

 

 

Number Street

 

City State ZIP Code

 

 

 

i

| Part 6: List Certain Losses

 

- 45. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

te
Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred . oo, —, loss lost
Include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

 

{
i
|
|
|
|

List Certain Payments or Transfers

 

 

 

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

Yes. Fill in the details.

 

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid made
Number = Street $
$

 

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

 
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oor ASH LaShawn Brwin cnt unten

First Name Middle Name Last Name

 

Description and value of any property transferred Date payment or Amount of
transfer was made payment

 

 

Person Who Was Paid

 

Number Street

 

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

 

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

Pino

L) Yes. Fill in the details.

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
a made
Person Who Was Paid i
I {
| |
Number Street i $
i i
'
[ $

 

City State ZIP Code

 

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Dp not include gifts and transfers that you have already listed on this statement.
re
C) Yes. Fill in the detaits.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

 

Person's relationship to you

 

 

Person Who Received Transfer

 

Number Street

 

 

 

 

 

City State ZIP Code

 

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 
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cor eS LaShawn Row case number wun

First Name Middie Name Last Name

 

' 19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

Ano

(J Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

 

Name of trust

|
|
|
|
j

 

 

 

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
Last 4 digits of account number Type of account or Date account was Last balance before

No
Yes. Fill in the details.
instrument closed, sold, moved, _ closing or transfer

Loan Oe Wat 0A, A. dab KA checking Ae D $ 52

QO Savings

 

Number Street
Q Money market

 

QO Brokerage
Clothe

 

City State ZIP Code

 

 

XXXX— Q) checking $
Name of Financial Institution OO
QO Savings
Number Street OQ Money market

 

QO Brokerage

 

QO Other

 

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for

Ke cash, or other valuables?
No

Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

Who else had access to it? Describe the contents Do you still
have it?
OQ No
Name of Financial Institution Name Q Yes
Number Street Number Street
City State ZIP Code
City State ZIP Code

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

 
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sow, Sire lashawn “draw? case number ys

First Name Middle Name Last Name

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
Yes. Fill in the details.

 

 

 

Who else has or had access to it? Describe the contents Do you still
; have it?
CQ) No
Name of Storage Facility Name i QO Yes
i

 

City State ZIP Code

 

I
|
Number Street Number Street '
I

City __.State ZIP Code

TE tecntiry Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
of hold in trust for someone.
TA No
OQ) Yes. Fill in the details.
Where is the property? Describe the property Value

 

 

Owner's Name $

 

Numb Street
Number Street

 

 

 

City State ZIP Code

 

 

 

 

City State ZIP Code

ue ove Detalis About Environmental Information

_ For the purpose of Part 10, the following definitions apply:

 

= Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
: hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

u Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

_ & Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

- 24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

Yes. Fill in the details.

 

 

 

 

 

Governmental unit Environmental law, if you know it Date of notice
| T
i
|
|
Name of site Governmental unit ; i
Number Street Number Street
City State ZIP Code

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10

 

 
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.

Debtor 1 LS ie \9 sha WW Y"\ Oy DW Yn Case number (if known)

First Name Middle Name Last Name

: 25.Have you notified any governmental unit of any release of hazardous material?

 

 

 

 

 

 

 

 

No
CD Yes. Fill in the details.
Governmental unit Environmental law, if you know it Date of notice
i |
Name of site Governmental unit : |
Number Street Number Street
City State ZIP Code

 

City State ZIP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

 

 

 

 

 

No
C Yes. Fill in the details.
Court or agency Nature of the case Status of the
-_ case

Case title O ;

Court Name : Pending
: CQ) on appeal

Number _ Street ~Q) concluded

Case number City State ZIP Code

ae ove Details About Your Business or Connections to Any Business

 

 

: 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
QO) Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
C2) A member of a limited liability company (LLC) or limited liability partnership (LLP)
Qa partner in a partnership
QO) An officer, director, or managing executive of a corporation

C) An owner of at least 5% of the voting or equity securities of a corporation

Pino None of the above applies. Go to Part 12.
Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employer identification number
Do not include Social Security number or ITIN.

 

 

Business Name

EIN: -

 

Number Street

 

Name of accountant or bookkeeper Dates business existed

 

 

From To

 

 

City «State __ZIP Code

 

Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

 

 

Business Name | reste e nin tn

 

 

 

 

: EIN;
Number Street
Name of accountant or bookkeeper Dates business existed
From To

 

 

 

City State ZIP Code

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 11

 
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com ESN LaShawn “Frowid secs oe

First Name Middie Name Last Name

Employer Identification number
Do not include Social Security number or ITIN.

Describe the nature of the business

 

 

 

 

 

 

r
Business Name |
|
| a
t! , j : : . .
Number Street Name of accountant or bookkeeper Dates business existed
if
|
From To
City State ZIP Code
'

 

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

Yes. Fillin the details below.

Date issued

 

Name MM/DD/YYYY

 

Number Street

 

 

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.%) §§ 152, 1341, 1519, and 3571.

 

Vv ¥ ¥ °
Signature of Debtor 1 Signature of Debtor 2

on alshaoid oa

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

no
QO

Yes

 

 

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No

L) Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12
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Fill in this information to identify your case: Check one box only as directed in this form and in

Form 22A4-1Supp:

 

Debtor 1 ! } Shawn bY OW)

First Nam Middle Name Last Name

 
  

1. There is no presumption of abuse.
Debtor 2 f
(Spouse, if fling) First Name} \ Middle Name Last Name U 2. The calculation to determine if a presumption of

. : Ww a (\ bw abuse applies will be made under Chapter 7 Means
United States Bankruptcy Court for the: 0 ney \ District of a h nie Test Calculation (Official Form 22-2).

Case number UC) 3. The Means Test does not apply now because of
(if known) qualified military service but it could apply later.

 

 

(2 Check if this is an amended filing

OFFICIAL FORM B 22A1

 

Chapter 7 Statement of Your Current Monthly Income 12/14

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have
primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under
§ 707(b)(2) (Official Form 22A-1Supp) with this form.

 

Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.

Not married. Fill out Column A, lines 2-11.
LJ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

C) Married and your spouse is NOT filing with you. You and your spouse are:
CU) Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

QO) Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse
are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the
amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not
include any income amount more than once. For example, if both spouses own the same rental property, put the income from that property in
one column only. If you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all 4 a §0
payroll deductions). $_LA‘A $

3. Alimony and maintenance payments. Do not include payments from a spouse if pL
Column B is filled in. $-7

4, All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not Ba
filled in. Do not include payments you listed on line 3. $_ $

5. Net income from operating a business, profession, or farm

Gross receipts (before all deductions) $
Ordinary and necessary operating expenses -$
Net monthly income from a business, profession, or farm  $ Copy here™> $ $

6. Net income from rental and other real property

Gross receipts (before all deductions) $ oe
Ordinary and necessary operating expenses -—§$
Net monthly income from rental or other real property $ Copy here> §$

7. Interest, dividends, and royalties

 

 

Official Form B 22A1 Chapter 7 Statement of Your Current Monthly Income page 1

 
*

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swe (Ashe _(aShawn Brow susnn

First Name ame Last Name

 

 

 

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ a $
Do not enter the amount if you contend that the amount received was a benefit
9. Pension or retirement income. Do not include any amount received that was a &-
benefit under the Social Security Act. $ $
10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. If necessary, list other sources on a separate page and put the total on line 10c.
10a. $_ $
10b. $
10c. Total amounts from separate pages, if any. +$ +¢

 

Hae

Totai current monthly

 

 

 

 

 

11. Calculate your total current monthly income. Add lines 2 through 10 for each a
column. Then add the total for Column A to the total for Column B. $ $ zs ?

 

 

 

 

 

 

income
[rare 2: | Determine Whether the Means Test Applies to You
12. Calculate your current monthly income for the year. Follow these steps: cn
12a. Copy your total current monthly income from liN€ 11........... ee ceseeeesessresetseeeeneeneseeerseaetinenrenaesnaeees Copy line 11 here™> 12a. $ Uma’
Multiply by 12 (the number of months in a year). x 12

et
12b. The result is your annual income for this part of the form. 12b. | $4l, blo
13. Calculate the median family income that applies to you. Follow these steps:

Fill in the state in which you live. a \ hn

Fill in the number of people in your household. On

 

 

 

 

 

 

 

 

 

Fill in the median family income for your state and size of MOUSENOIA. oo... ce cseeseeeeneeteeeseeteeeeeseeneenecserenterersaesaseeseaennanens 13. 5 92,004

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

 

14. How do the lines compare?

14a. Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3.

44b. L) Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 22A-2.
Go to Part 3 and fill out Form 22A—2.

ea Sign Below
L.

 

 

\
By signing here, | declare undér penalty of perjury that the information on this statement and in any attachments is true and correct.

wy x Jl

Signaturb of Debtor 2

  

 

 

Date
MM/ DD /YYYY

If you checked line 14a, do NOT fill out or file Form 22A—2.
If you checked line 14b, fill out Form 22A-2 and file it with this form.

 

 

 

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Attorney or Party Name, Address, Telephone & FAX FOR COURT USE ONLY
Nos., State Bar No. & Email Address

She L. Brin
wat (ileye breve BA

cn Vigo, Of Ula
\Ostle oun We con

UIA -9O8-44GR

Xn appearing without attorney
Attorney for Debtor

 

 

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA -**SELECT DIVISION*™*

 

 

In re: CASE NO.:
CHAPTER: **Select Chapter** A
YS wther District of
° VERIFICATION OF MASTER
Ca Av VW MAILING LIST OF CREDITORS

[LBR 1007-1(a)]

 

 

 

Debtor(s).

 

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor’s attorney if applicable, certifies under
penalty of perjury that the master mailing list of creditors filed in this bankruptcy case, consisting of
___ sheet(s) is complete, correct, and consistent with tye Debtor's schedules and I/we assume all

responsibility for errors and omissions. ha,

Date: als A010 +
| Signature of Debtor 1

Date:

   

 

 

Signature of Debtor 2 (joint debtor) (if applicable)

Date:

 

 

Signature of Attorney for Debtor (if applicable)

 

This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California

December 2015 F 1007-1.MAILING.LIST.VERIFICATION
Case 19-04033-LA7 Filed 07/05/19

The Bank of Missouri
216 West 2” St.
Dixon, MO 65459

Indigo-Celtic Bank
PO Box 4499
Beaverton, OR 97076

SYNCB/JC Penneys
4125 Windward Plaza
Alpharetta, GA 30005

Barclays Bank Delaware
PO Box 8803
Wilmington, DE 19899

Carmax Auto Finance
925 Chastain Meadows Court
Kennesaw, GA 30144

Conn Credit Corp
PO Box 2358
Beaumont, TX 771704

Jefferson Capital Systems
16 McLeland Rd
St. Cloud, MN 56303

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Portfolio Recovery Associates
120 Corporate Blvd, Ste. 100
Norfolk, VA 23502

Terry and Susan Gallant
PO Box 19001
San Diego, CA 92159

Oaks of League City
305 Hobbs Road
League City, TX 77573

Auditor & Controller Office
PO Box 121909
San Diego, CA 92112

San Diego Gas & Electric
PO Box 121909
Santa Ana, CA 92799

Capital One
PO Box 30285
Salt Lake City, UT 84130

AFC Urgent Care
10538 Mission Gorge Rd #100
Santee, CA 92071

Monarch Recovery Management
PO Box 986
Bensalem, PA 19020

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State of California Franchise Tax Board
PO Box 1286
Rancho Cordova, CA 95741

T-Mobile
PO Box 37380
Albuquerque, NM 87176

Sprint
PO Box 4191
Carol Stream, IL 60197

Ambit Energy
P.O. Box 864589
Plano, TX 75086

AT&T
PO Box 10330
Fort Wayne, IN 46851-0330

Direct Energy

12 Greenway Plaza
Suite 250

Houston, TX 77046

Green Mountain Energy
910 Louisiana St.
Houston, TX 77002

TXU Energy
6555 Sierra Dr.
Irving, TX 75039
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Wells Fargo
420 Montgomery Street
San Francisco, CA 94104
